 

Case 2:04-cr-01189-CAS Document 222 Filed 08/31/20 Page 1of14 Pagerthxsd Osieict covrr

 

A t 31, 2020
United States District Court ugus

Central District of California

 

 

 

CENTRAL "CMT OF CALIFORNIA
United States of America BY: J DEPUTY

 

 

 

Plaintiff
Case Number
CR-04-1189(A)--CAS

Gabriel Gonzalez
Defendant, Pro Se

Motion for Emergency Protective Order

Gabriel Gonzalez asks this honerable court to issue a protective order commanding
the prison at FCI Forrest City to cease and desist its deliberate and intentional
acts to harm him.

The prison's medical staff have told him they will no longer fill his prescription
medication (Omeprazole) to treat his Gastro Esophageal Reflux Disease (GERD). Gonzalez
was told he should purchase the prison's over-the-counter (OTC) medications and
antacids from the commissary if he desired continued pharmaceutical treatment. for
his condition. He was not offered an alternative prescription medication or alternative
replacement treatment for his chronic care condition. Gonzalez was told, however,
that once his inmate account was depleted to less than $6.00 for a consecutive
six months would he then be given his prescription, or an alternative, by the

pharmacy.

Gonzalez has been a chronic care patient for GERD for the past 10 years and
has received regular prescriptions for Omeprazole (and Ranitidine until it was
no longer effective) for the entire 5 years he has been assigned to FCI Forrest
City. Curiously, subsequent to this court's ordered inquiry into this prison's
treatment and care practices for Gonzalez’ COVID-19 infection, the supplying and

delivery of his medication has been refused beginning on or about 8/01/20.
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Gonzalez contends that this new medical care regime is not derived from any
medical basis. Instead, it appears to be based on his ability to pay, wherein
treatment and pharmaceutical therapy is withheld as long as Gonzalez demonstrates
he possesses finds which he could surrender, or until he demonstrates he has relinquished
all his funds and that he remains in a state of destitution.

To further complicate this matter, Gonzalez is permitted to shop the prison's
commissary once per month. (or generally, once every 3 weeks). at that time,
he is allowed to purchase only a few days supply of antacids at $10.95 per box.

And since the prison remains on lockdown, Gonzalez is unable to maintain his job

in the prison's law library to earn enough to pay for the allotment of antacids.
This new pay-for-care regime appears to be designed to keep Gonzalez sick which
would leave him particularly and expeditiously vulnerable to death under his current
state and condition-specific exposure to the Coronavirus-rampant at the prison.

Gonzalez prays this court find cause to order his medication prescription,
or a reasonable alternative, be returned or issued to him until he is medically
cleared by an off-site physician to no longer require chronic care treatment, to
find that the prison's current practice violative of the Constitution and federal
laws governing medical care of prisoners, and that the prison refrain from reintroducing
this regime without first having secured permission from this court to do so.
Gonzalez also asks the court to grant him any other relief it deems appropriate
and proper to protect him from this prison's deliberately harmful action towards

him initiated in response to this court's recent probe.

Verification

I have read the foregoing motion for emergency protective order and hereby

verifv that the matters alleged herein are true, except as to matters alleged on
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information and belief, and as to those, I believe them to be true and correct.
Executed at Forrest City, Arkansas on this 7th day of August, 2020.

AGE

Gabriel Gonzalez
Defendant, Pro Se

Certificate of Service

I certify under the penalty of perjury that the foregoing motion for emergency
protective order was placed in the prison's internal mail system, postage pre-paid,
for service upon this court via U.S. mail on this 7th day of August, 2020 to 312
North Spring Street Los Angeles, California 90022. Gonzalez asks this court's

clerk to serve all other interested parties by electronic notification and to provide

him with a stamped filed copy of this motion.

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Gabriel Gonzalez
Defendant, Pro Se
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TRULINCS 30515112 - GONZALEZ, GABRIEL - Unit: FOR-W-D

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FROM: 30515112

TO: Low Health Services

SUBJECT: ***Request to Staff*** GONZALEZ, GABRIEL, Reg# 30515112, FOR-W-D
DATE: 08/02/2020 07:22:26 PM

To: P.A. Wingo
Inmate Work Assignment: Education

Ma'am,

| renewed my prescriptions for Omeprazole, Tamsulosin, Methimazole, Latanaprost, and Coal Tar Shampoo last month. They
do not appear on the computer for reorder as they have in the past. Why have my medications been discontinued? | have
been a chronic-care GERDS patient for about 10 years now and need my medication for this as well as my thyroid medication
and the others. Please correct the discontinuance of my medications as soon as possible. | am also submitting a sick-call
request in the morning. Thank you for your prompt attention to this matter.

Gabriel Gonzalez
#30515-112

P.O. Box 9000-Low

Forrest City, Arkansas 72336

 

 
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TRULINCS 30515112 - GONZALEZ, GABRIEL - Unit: FOR-W-D

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FROM: 30515112

TO: Wynne Unit Team

SUBJECT: ***Request to Staff*** GONZALEZ, GABRIEL, Reg# 30515112, FOR-W-D
DATE: 08/03/2020 08:05:48 AM

To: Warden DeWayne Hendrix
Inmate Work Assignment: Education

Warden Hendrix,

This morning | was informed that the prison's pharmacy has implemented its own policy which requires prisoners to purchase
their prescription medications from the commissary, despite those prescriptions being a necessary part of medical treatment
recommended by the physician and regardless of whether the prisoner (patient) is under chronic care treatment. | am affected
by this new policy because | am a 10 year chronic care patient and require a regular allotment of Omeprazole to treat my
Gastro esophageal Reflux Disease. Without this medication, my condition will worsen and will result in Barret's Esophagus-a
cancerous condition caused by the acidic erosion of the esophageal lining from lack of care. This is a dangerous policy to
allow, especially at this time, when prisoners are only able to shop at the commissary once per month and there are no inmate
jobs which will allow for an opportunity to earn funds to pay for the high-priced medications at the commissary. Even having
monthly access to the commissary, current restrictions afford only the ability to purchase a few days worth of medications. At
least before the lockdown a prisoner could purchase medications on any day the commissary was open. Now, however, that is
no longer an option and will subject me, and every other prisoner here, to an elevated risk of harm from lack of access to these
necessary pharmaceuticals. | fear that this new policy will exacerbate my condition and cause me to endure a further
weakened physical condition creating further susceptibility to complications with contraction of the Corona virus, as well as
other medical problems. | have not been physically examined to determine the appropriateness of having my medications
withheld for payment, nor have | been given any alternatives such as provision of a special medical diet to curb the effects of
my disease. | ask that you intervene in this matter and provide me with my necessary prescription medication so that | can
continue with my medical treatment as previously prescribed.

Respectfully,

Gabriel Gonzalez
#30515-112

P.O. Box 9000-Low

Forrest City, Arkansas 72336

 
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TRULINCS 30515112 - GONZALEZ, GABRIEL - Unit: FOR-W-D

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FROM: 30515112

TO: Low Health Services

SUBJECT: ***Request to Staff*** GONZALEZ, GABRIEL, Reg# 30515112, FOR-W-D
DATE: 08/04/2020 09:14:51 PM

To: Dr. Hari Kapur
Inmate Work Assignment: Education

Dr. Kapur,

Several days ago, my medication prescription did not appear on my electronic e-mail notice. | inquired about my GERDS
medication and was told that medical services was not going to issue it to me despite your prescription that | receive it. | was

_ told that if | wanted to continue treatment for my GERD then | would be required to buy it from commissary. | was also told that
if 1 could maintain an account balance of less than $6.00 per month for six months that the pharmacy would then start giving me
my Omeprazole again. Would you please advise me as to why my medication is being withheld? | have been a chronic care
GERD patient for 10 years and have been repeatedly assessed and prescribed this medication to treat my condition throughout
this time period. Please correct this error. It will be very dangerous for me to be without it. | am afraid | will develop throat
cancer from the effects of my disease. | can only shop once per month and can only buy a few days supply of the antacids they
have due to medication sales limitations. What do | do when | run out? | won't be able to buy more until the next month. Since
there are no inmate jobs now, because of the lockdown, | am not earning any money to be able to purchase these high priced
medications. The antacids sell for $10.95 per box which will last about a week and a half. Please remedy this error so that |
can continue to receive my medication without further interruption. | am already experiencing difficulty with my disease and
believe it will lower my resistance to fighting off the Corona virus. Thank you for your prompt attention to this very important
matter.

Gabriel Gonzalez
#30515-112

P.O, Box 9000-Low

Forrest City, Arkansas 72336

 
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TRULINCS 30515112 - GONZALEZ, GABRIEL - Unit: FOR-W-D

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FROM: 30515112

TO: Low Health Services

SUBJECT: ***Request to Staff*** GONZALEZ, GABRIEL, Reg# 30515112, FOR-W-D
DATE: 08/05/2020 01:11:40 PM

To: Health Services Administrator Poyner
Inmate Work Assignment: Education

HSA Poynor,

| am seeking your intervention in the summary denial of my prescription medication. On or about 8/01/20 the prison's pharmacy
has refused to honor my prescription for Omeprazole. | have been a GERD patient for 10 years and have received my
prescription consistently while here since 2015. Now | am told that | must purchase antacids from the commissary until such
time as my inmate account reaches a balance below $6.00 per month for 6 consecutive months. | believe this decision to
withhold my medication to be based on my ability to pay and has no medical foundation. | am unable to purchase enough
medication to see me through the 3-4 week time period between shopping days and | suffer greatly from not having regular
medications. Please provide me with reinstatement of my prescription medication. | have not been seen by Dr. Kapur, or any
other doctor or Physician's Assistant to clear me for this deprivation. Please help.

Gabriel Gonzalez
#30515-112

P.O. Box $000-Low

Forrest City, Arkansas 72336

 
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TRULINCS 30515112 - GONZALEZ, GABRIEL - Unit: FOR-W-D

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FROM: 30515112

TO: Low Health Services

SUBJECT: ***Request to Staff*** GONZALEZ, GABRIEL, Reg# 30515112, FOR-W-D
DATE: 08/06/2020 12:41:59 PM

To: Chief Pharmacist or Supervisor
Inmate Work Assignment: Education

Chief Pharmacist or Supervisor,

On or about 8/01/20 the prison adopted a practice of denying me my prescription medication to treat my GERD condition. |
have been offered no alternative or replacement medication, in place of my Omeprazole, and have received no examination to
ascertain the condition or seriousness of my current state. Since | have been without medication for several weeks now | am
experiencing constant burning in my throat and many other problems associated with my disorder. If | am required to purchase
my antacids from the commissary | need to remind you that | am unable to purchase enough medication to last through the
weeks between shopping days. Also, there are no inmate jobs, due to the lockdown, that will allow me to earn any funds to pay
for my chronic care medications. | ask that you please issue me one of the many alternative Proton-pump inhibitor medications
available as an alternative in order to prevent further pain and injury. | also ask you to advise me as to the likelihood that my
untreated condition will make me more susceptible to complications of the COVID-19 virus. Thank you for your prompt
attention to this very important matter.

Gabriel Gonzalez
#30515-112

P.O. Box 9000-Low

Forrest City, Arkansas 72336

 
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TRULINCS 30515112 - GONZALEZ, GABRIEL - Unit: FOR-W-D

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FROM: 30515112

TO: Low Health Services

SUBJECT: ***Request to Staff*** GONZALEZ, GABRIEL, Reg# 30515112, FOR-W-D
DATE: 08/07/2020 07:39:23 AM

To: Dr. Hari Kapur
Inmate Work Assignment: Education

Dr. Kapur,

| sent you an electronic message a few days ago explaining the situation with my GERD medication. | have not yet received
your response. | have been without medication for a few weeks now and am experiencing some painful symptoms from not
being treated. Would you please prescribe me any of the other proton pump inhibitor medications as a replacement for the
Omeprazole that | am no longer being given? Also, a review of some recent pages of my medical file show that you have
recorded me as having a clinical encounter at health services with you regarding my having tested positive for Corona virus. In
my records you have referred to me as ‘Inmate Wright' and have said that | deny having symptoms. It is my belief that you
have my file confused with someone who is not me. | have not been consulted or medically examined for my weaknesses,
respiratory problems, memory or cognitive problems or any other problems normally indicative of symptomatic COVID-19. |
have sent you, and others, several notices requesting examination and treatment for my condition. | have never been to
medical to see you nor have | been given any imaging examinations or treatments for my infection. | have had moderate
symptoms and have pled for your assistance but have received no response. Much time has passed and | expected to have
been examined by you by now. Please correct my medical file and eliminate your findings from ‘Inmate Wright’ and your
conclusions that | deny any complaints. Thank you.

Gabriel Gonzalez
#30515-112

P.O. Box 9000-Low

Forrest City, Arkansas 72336

 
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Federal Correctional Complex
Forrest City, Arkansas

Sick Call Request/Triage and Medication Refill Form
Formulario para obtener una cita medica y para rellenar medicinas

7:00 am -7:30 am
Do not place the sick call request in the institution mail.
Failure to complete this form or follow any procedure delays processing your sick call complaint.
Llene este formulario completamente y traigalo al Servicio de Salud para ponerlo en la caja designada para sick call entre las
7:00 a.m. y 7:30 a.m. No ponga este pedido para cita medica en el correo de Ia institucion. No seguiendo este procedimiento o
llenando este formulario incompletamente, tardara su cita medica.

(PLEASE PRINT)
NAME: (3440/84. @eev2ux7Z (Nombre)
REG, No.3 79

f = tro)
Signature: Firma) UNIT: in___(Unidaa)

Today=s Date:

  
 

What is your medical problem? (Cual es su problema medico?)

 

When did your problem begin or how long have you had the problem? (Cuando comenzo su problema/ Cuanto tiempo ha tenido

su problema?) Cr harwe. CPOE  f DEPDIILDT

When were you last seen for your problem? (Cuando fue la ultima vez que lo vieron por su problema?)

 

History of medical problems? (Circle) Diabetes Hypertension Cardiac Disease Asthma
Immunocompromised Mental Health Problems

Por cuanto tiempo tiene este problema? (Circule uno) Diabetis Hypertencion Enfermedad Cardiaca Astma
Immunocomprometida Enfermedad Mental

 
 
  
 

Are you taking medicine? (Circle NO (Estas tomando medicina - Circule uno) (Si) (No)

Do you Need Refills? (Circle one) NO (Necesitas rellenar tus medicinas? ) {Si} (No)

n(s) you need refilled? OAWVORA Zee JTAVASEBSI AS, SF, VEDA ZEN ge

Gtates-etnombre de tas medicinas-que-nacesita-rellanar? LATA BLVD eer FL Ft OP SK ng bes

If yes, what is the name(s) of the m

Have you had aninjuryy? YES NO If YES, do you have pain? (Circle one) YES NO
(Le ha lesionado?) (Si) (No) (Tienes dolor?) (Circule Uno) (Si) (No)

If yes, how long have you had pain: if YES, where is your pain? (Si contestas Si, donde estas su dolor?)
{Por cuanto tiempo?)

If yes, rate your pain (circle one) 1 2 3 4 5 6 7 8 9 10
(Como quantifica su dolor (circule uno) (0- No pain, 1-2 Mild, 3-4 Discomfort, 5-6 Moderate, 7-8 Severe, 9-10 Worst pain possible)
(0- No dolor, 1-2 Poco dolor, 3-4 Leve dolor, 5-6 Dolor moderado, 7-8 Dolor severo, 9-10 Peor dolor)

All non-medical problem requests including copies of Medical Records should be sent by regular Cop-Out through the
institutional mail system.

(Todos los problemas que no son de indole medicos, incluyendo copias de su record medico, seran dirigidos atravez de un Cop-Out y
puesto en ef correo de Ja institucion)

Do not write below this line.
(No escriba abajo de esta linea)

 

 

 

TO BE COMPLETED BY HEALTH SERVICES STAFF ONLY.
Date Scheduled to be Seen: HSU Staff Signature:

Health Care Provider
Comments:

 

 

 
 

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DOCUMENTATI ON OF INFORMAL RESOLUTION ATTEMPT

Bureau of Prisons Program Statement No. 1330.13, Administrative Remedy
Program, (December 22, 1995), requires, in most cases, that inmates
attempt informal resolution of grievances prior to filing a formal
written complaint, This form shall be used to document your efforts
towards informally resolving your grievance.

Inmate’s Name: Gabriel Gonzalez Date: 8/05/20
Register Number: 30315-112 Unit: wW/D

Specific Complaint and Requested Relief: This grievance is made to prevent
foreseeable harm and injury caused directly by the prison*s newly initiated practice
of withholding prescription medication premised upon reasons of one's ability to
pay, and not providing an alternative pharmaceutical as a viable replacement. T[
have been a chronic care GERD patient for 10 years and have been provided Omeprazole
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pharmacy has refused to fill my prescription and have directed me to buy antacids
i i FF however, have tald me they would fill my prescription
if I deplete my trust fund account to $6.00 or less for 6 consecutive months. I

believe this practice to be malicious. violative of law, and ultimately lethal.
I ask to have my prescription, or a reasonable alternative medication, reinstated

or replaced immediately.

Efforts Made By Inmate to Informally Resolve Grievance (be
specific):

 

T have made several requests for relief to medical staff using the electronic
notification system. [ have nov recetved any responses. ftrave arso” souget relief
through verbal communication of my needs at pill-line and through sick call procedures.

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Counselor=s Comments: Svan Md PEY MER,
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Correctional Counselor=s Review Date Unit Manger=s Review Date

DATE BP-9 was ISSUED

 
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Case 2:04-cr-01189-CAS Document 222 Filed 08/31/20 Page 12 0f 14 Page ID #:1066

dike.

DOCUMENTATION OF INFORMAL RESOLUTION ATTEMPT

Bureau of Prisons Program Statement No. 1330.15, Administrative Remedy
Program, (December 22, 1995), requires, in most cases, that inmates
attempt informal resolution of grievances prior to filing a formal
written complaint. This form shall be used to document your efforts
towards informally resolving your grievance.

Inmate’s Name: Gabriel Gonzalez Date: 8/05/20

Register Number: 30515-112 Unit: W/D

Specific Complaint and Requested Relief: This grievance is made to prevent
foreseeable harm and injury caused directly by the prison’s newly initiated practice
of withholding prescription medication premised upon reasons of one's ability to

pay, and Hot proviting a atremacive pharmaceutical as a Viable replacement T

have been a chronic care GERD patient for 10 years and have been provided Gneprazole
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pharmacy has refused to fill my prescription and have directed me to buy antacids

Eom comnlssgry Moricst staff, however heve told me few wore) Fil) om, prescription
if I deplete my trust fund account to $6.00 or less for 6 consecutive months. I
believe this practice to be malicious. violative of law. and ultimately lethal.

I ask to have my prescription, or a reasonable alternative medication, reinstated

or replaced immediately.

Efforts Mada By Inmate to Informally Resolve Grievance (be
specific):

 

T have made several requests for relief to medical staff using the electronic
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through verbal communication of my needs at pill-line and through sick call pr ocedures,.

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Correctional Counselor=s Review Date Unit Manger=s Review Date

DATE BPE-3 was ISSUED

 
 

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Distcourt Clerk
312 .N Spring ST
Room G-8
LOS Angeles, CA 90012
United States

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